   Case 10-46222-RG         Doc 57    Filed 01/22/16 Entered 01/22/16 10:52:41             Desc Main
                                      Document
                                    UNITED  STATESPage  1 of 2
                                                    BANKRUPTCY  COURT
                                           DISTRICT OF NEW JERSEY
                                                          Case No.:           10-46222
   In Re:   RANDALL JACOBS
                                                          Chapter:            13
            JILL JACOBS                                                       Judge Rosemary Gambardella
                                                          Judge:
Notice of Final Cure Payment - Pursuant to F.R.B.P. 3002.1 (f)
Part 1: Claim Information
a. Name of holder (or servicer) of claim secured by a security interest in the debtor's principal
residence: NATIONSTAR MORTGAGE LLC
             PO BOX 619094
             DALLAS, TX 75261-9741


b. Proof of Claim Number on Court's Registry:                      3
c. Trustee's Claim Number (if any):                                3
Part 2: Trustee Certification
I, Marie-Ann Greenberg, the chapter 13 trustee, hereby certify that all payments required to be paid
through the Chapter 13 Plan for the benefit of the secured creditor named above, including pre -petition
arrears and all other amounts due to be paid to the secured creditor through the Chapter 13 Plan which
arose post-petition pursuant to Order or Modified Plan, have been paid in full to the secured creditor . I
further certify that on January 22, 2016 a copy of this notice was served on the debtor(s), debtor's
attorney (if any) and the secured creditor at the address noted below.
Part 3: Signature
                                                             Date: January 22, 2016
Signature
Part 4: Service
Notice Mailed to:

Debtor(s):
   RANDALL S.D. JACOBS
   JILL W JACOBS
   5 HAMPTON COURT
   CALDWELL, NJ 07006

Debtor(s)' Counsel:
   GOLDMAN & BESLOW, LLC served via CM/ECF




Creditor (or Creditor's Counsel):
   NATIONSTAR MORTGAGE LLC
   PO BOX 619094
   DALLAS, TX 75261-9741


    This Notice of Final Cure Payment informs the holder of the claim of its obligation to file
                      and serve a Response pursuant to F.R.P.B. 3002.1 (g).
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Part 5: Instructions
                                       Document Page 2 of 2
1. Response to Notice of Final Cure Payment. Within 21 days after service of the Notice of Final
Cure Payment, the holder of a claim secured by a security interest in the debtor's principal residence
shall file and serve on the debtor, debtor's counsel and trustee, Local Form, Statement In Response to
Notice of Final Cure Payment, indicating whether (1) it agrees that the debtor has paid in full the
amount required to cure the default, and (2) the debtor is otherwise current on all payments consistent
with 1322(b)(5) of the Code. The Statement shall itemize any required cure or post-petition amounts, if
any, that the holder contends remain unpaid as of the date of the statement . The Statement shall not
be subject to Rule 3001(f).

2. Determination of Final Cure and Payment. On motion of the debtor or trustee filed within 21 days
after service of the Statement given pursuant to paragraph (1) above, the court shall, after notice and
hearing, determine whether the debtor has cured the default and paid all requried pre and post -petition
amounts.

3. Failure to Notify. In addition to the relief accorded pursuant to paragraph (3) above, if the holder
of a claim fails to provide information required by paragraph (1) above, the court may, after notice and
hearing, take either or both of the following actions:

   i. preclude the holder from presenting the omitted information, in any form, as evidence in any
contested matter or adversary proceeding in the case, unless the court determines that the failure was
substantailly justified or is harmless, or

     ii. award other appropriate relief including reasonable expenses and attorney's fees caused by the
failure.
